Case 1:15-cv-00394-JCG Document1 Filed 11/30/15 Page 1 of 4

FORM TO BE USED BY PRISONERS IN FILING A COMPLAINT UNDER THE CIVIL RIGHTS ACT, 42 U.S.C. § 1983
IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI

COMPLAINT
_Willraars K3372 .
(Last Name) {identification Number)
Rand C.
(First Name) (Middle Name)
SM OL

(Institution)

Po Box HIT, Leakesviile, ms, 3945|
(Address)

(Enter above the full name of the plaintiff, prisoner, and address
Plaintiffin this action)

1
Vv. CIVIL ACTION NUMBER: | | OV, 5 fu AC) 6
. {to be completed by the Court)
“SMT, SuberiMendente. Tat Qe ln Bass

Suferimendent Ran Kind
. "i : : AUS
warden it

(Enter above the full name of the defendant or defendants in this action)

OTHER LAWSUITS FILED BY PLAINTIEF |

NOTICE AND WARNING:
The plaintiff must fully complete the following questions. Failure to do so may result in your case being dismissed.

A. Have you ever filed any other lawsuits in a court of the United States? _ Yes yt ae )
B. If your answer to Ais yes, complete the following information for each and every civil action and eppeal filed by you. (Ifthere

is more than one action, complete the following information for the additional actions on the reverse side of this page or
additional sheets of paper.)

a

|: 1. Parties to the action: t : iC, f ' A

Doris Médonald £7. AL.

2. Court (if federal court, name the district; if state court, name the county):(6, DiShiét Court @ For
the southern dicdriet oF miss’ ss: PPi

3. DocketNumber: 4/3 -y-10 -DPI-FKB. 1 I4-C¥-57-L6-Imk .3:130V994-F I

4. Nameofjudgeto whom case was assigned: John c.6009iulo Linda, Andersen F Reith Ball

| 5, Disposition (for example: was the case dismissed? If so, what grounds? Was it appealed? Is it still 7:
“| pending?): jeside { sebted gue ontwe oF them avd asked Fer the ether te be dissmixs
Gnd one Perdis

Case 1:15-cv-00394-JCG Document1 Filed 11/30/15 Page 2 of 4

PARTIES

(In item I below, place your name and prisoner number in the first blank and place your present address in the second blank. Do the same
for additional plaintiff, if any).

i oe 2

Prisoner Number: 233 Ta

IL. Name of plaintiff:
Address: SMO
ho. Bex HI9
_ Leg hesviile. £45, 39451

(in item II below, place the full name of the defendant in the first blank, his official position in the second blank, and his place of
employment in the third blank. Use the space below item II for the names, positions, and places of employment of any additional
defendants.)

11. Defendant: 9s, AGS. Mi Davi's, Ms, Sedoieoks Or Kidd Mr wl is employed as.

utboritteddeltswatdant i $f0LD. AML,
Mesh

The plaintiff-isresponsible-for-providing-the.court.the name.and.address of cach plaintiff(s).as.wellas the name(s) and address(es)
_ of each defendant(s). Therefore, the plaintiff is required to complete the portion below:

PLAINTIFF:

“Rand ¢. willioms Raga" MeL, Pp. Bor 14. Leake sville. as. 3745\

' DEFEBNDANT(S):

ADDRESS:

SMeI, sufetiniendent Tae4uel IW Banik s SS mutT. Pio. Rok Id Leakesvill ss. 3045
SuleCistertent Ron Kista LMF. Po, Box ¢8550. Pearl, Rs. 394408
watden. Tavis $te.T. Po Box HI Jeakesville, 05.3945)
Warde Mativs MSP uwit®29, Porhmad Ms, 32738
orden of_seaiel Theteow Senbouts _Sutect, Po, Rok 419 Leakecville, mc 29451 _

Case 1:15-cv-00394-JCG Document 1 Filed 11/30/15 Page 3 of 4

GENERAL INFORMATION
At the time of the incident complained ofin this complaint, were you incarcerated because you had been convicted of a crime?

Yes(W) No( )

Are you presently incarcerated for a parole or probation violation?
Yes( )} No€ ,

At the time of the incident complained of in this complaint, were you an inmate of the Mississippi Department of Corrections
(MDOC)?

Yes(W) No( )
Are Oe inmate of the Mississippi Department of Corrections DOC)?
Yes ( No( ) ,

Yes ( }, ifso, state the restilts of the procedure:

Have you completed the Administrative Remedy Program regarding the claims presented in this complaint?
No (

If you are not an inmate of the Mississippi Department of Corrections, answer the following questions:
1. Did you present the facts relating to your complaint to the administrative or grievance procedure in your institution?

Yes( ) No{ )

2. State how your claims were presented (written request, verbal request, request for forms): :
3. State the date your claims were presented:
4, State the result of the procedure:

a

Case 1:15-cv-00394-JCG Document1 Filed 11/30/15 Page 4 of 4

STATEMENT OF CLAIM

Ta. State here as briefly as possible the facts of your case. Describe how each defendant is involved. Also, include the names of
other persons involved, dates, and places. Do not give any legal arguments or cite any cases orstatutes. If you ititend to allege
a number of different claims, number and set forth each claim in a separate paragraph. (Use as much space as youneed; ‘attach
extra sheet if necessary.)

aN Z7Q6-15 j Wes stabbed muiiple of times ald bid to be fush-
to the hasPital bY Aelieopter . imas sdahhed iv the hack of the head
and Hilo Vises io the Cite tt ase Matar sede thew,

or _<A2bbnt9 welleta. tht. we FOSLS‘, thot. hii be. Shebbed

LIC. CNM F-Ra-/S.

IV. what relief you seek from the court. Make o legal ar ents. Cife no cases pr statutes.
— Sype8 WELLE SEYSD Lbat De ope coy An! Giacwasiiay
7. ob, Alias Fa the Lyell jhhil sal Stall att

Vid iW wl Leitl Lost

Signed this - & dsyot___ Mo vemder 20 £6
Ail! 2, ecctliaOs

3370

Signature of plaintiff, prisoner number and address of

plaintist $./2,0.2, Po. Box J41
I declare under penalty of perjury that the foregoing is true and correct. Leakes Vs He: rs. Z 9Y 5 /

WL g /1S. : Lori. Zt hte —

(ate) Signature of plaintiff

